      Case 4:13-cv-00920 Document 1 Filed on 04/02/13 in TXSD Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

GUADALUPE YNOSTROZA,                             §
                                                 §
               Plaintiff,                        §
                                                 §
       v.                                        §   No.
                                                 §
GC SERVICES, LP,                                 §
                                                 §
               Defendant.                        §

                                 PLAINTIFF’S COMPLAINT

       GUADALUPE YNOSTROZA (“Plaintiff”), through her attorneys, KROHN & MOSS,

LTD., alleges the following against GC SERVICES, LP (“Defendant”):

                                        INTRODUCTION

       1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act (“FDCPA”),

15 U.S.C. § 1692, et seq.

       2.      Count II of Plaintiff’ Complaint is based on Texas Statute, Financial Code, § 392.302

et seq. (“Texas Financial Code”).

                                 JURISDICTION and VENUE

       3.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court without

regard to the amount in controversy.”

       4.      Defendant conducts business in the State of Texas establishing personal jurisdiction.

       5.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                            PARTIES

       6.      Plaintiff is a natural person residing in Spring, Harris County, Texas.
      Case 4:13-cv-00920 Document 1 Filed on 04/02/13 in TXSD Page 2 of 4




       7.      Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3) and Texas

Financial Code § 392.001(1).

       8.      Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5) and

Texas Financial Code § 392.001(2).

       9.      Defendant is a business entity with an office located at 6330 Gulfton St. Houston

TX 77081.

       10.     Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6) and Texas

Financial Code § 392.001(6).

       11.     Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS

       12.     Defendant attempted to collect an alleged debt from Plaintiff.

       13.     The alleged debt arose from transactions which were for personal, family and

household purposes.

       14.     As part of its collection activities, Defendant placed telephone calls to Plaintiff on

her cellular telephone, (315) 569-xxxx.

       15.     In or around November 2012, Defendant made a telephone call to Plaintiff and left

her a voicemail message. See transcribed voicemail, attached hereto as Exhibit A.

       16.     In its voicemail message, Defendant asked Plaintiff to call (866) 391-0768, which is

a number belonging to Defendant. See Exhibit A.

       17.     Defendant failed to identify Defendant’s company name in its voicemail message to

Plaintiff. See Exhibit A.

       18.     Defendant also failed to inform Plaintiff that Defendant, or its employees, is a debt
                                                  2
       Case 4:13-cv-00920 Document 1 Filed on 04/02/13 in TXSD Page 3 of 4




collector. See Exhibit A.

        19.     Defendant’s message withheld the true nature of its call, to collect a debt, in order to

deceive Plaintiff into calling Defendant.

        20.     Defendant uses deceptive voicemail messages in connection with its attempts to

collect the alleged debt by not identifying itself, not disclosing the purpose of its phone calls, or that

it is a debt collector.

                              COUNT I
     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

        21.     Defendant violated the FDCPA based on the following:

                a. Defendant violated § 1692d of the FDCPA by engaging in conduct the natural

                     consequence of which is to annoy Plaintiff;

                b. Defendant violated § 1692d(6) of the FDCPA by not disclosing its identity in its

                     voicemail to Plaintiff;

                c. Defendant violated § 1692e of the FDCPA by using false, deceptive or

                     misleading representation with the collection of the debt;

                d. Defendant violated §1692e(10) of the FDCPA by using false representations

                     and/or deceptive means to attempt to collect a debt; and

                e. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

                     communication that it is a debt collector.

        WHEREFORE, Plaintiff, GUADALUPE YNOSTROZA, respectfully requests judgment

be entered against Defendant, GC SERVICES, LP, for the following:

        22.     Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act,

15 U.S.C. § 1692k.

                                                    3
      Case 4:13-cv-00920 Document 1 Filed on 04/02/13 in TXSD Page 4 of 4




       23.    Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692k.

       24.    Any other relief that this Honorable Court deems appropriate.

                                      COUNT II:
                                DEFENDANT VIOLATED
                              THE TEXAS FINANCIAL CODE

       25.    Defendant violated Texas Financial Code based on, but not limited to, the following:

              a. Defendant violated § 392.304(a)(19) of the Financial Code by using deceptive

                  means to collect a debt.

       WHEREFORE, Plaintiff, GUADALUPE YNOSTROZA, respectfully requests judgment

be entered against Defendant, GC SERVICES, LP, for the following:

       26.    Injunctive relief pursuant to Texas Financial Code § 392.403(a)(1), to prevent

Defendant from further violating the Texas Financial Code.

       27.    Costs and reasonable attorneys’ fees pursuant to Texas Financial Code § 392.403(b).

       28.    Any other relief that this Court deems appropriate.

       Dated: April 2, 2013          RESPECTFULLY SUBMITTED,

                                     By: /s Douglas Baek                            .

                                             Douglas Baek (CA State Bar No. 258321)
                                             Krohn & Moss, Ltd.
                                             10474 Santa Monica Blvd., Suite 405
                                             Los Angeles, CA 90025
                                             Tel: 323-988-2400 x244
                                             Fax: 866-829-5083
                                             dbaek@consumerlawcenter.com
                                             Attorney for Plaintiff




                                                4
